   Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19       Entered 09/11/19 12:19:37        Page 1 of 33



                                       Timeline of Events

          Date               Action                                 Notes
   Apr. 27, 2018     S 450 – TGL v.       TGL’s suit on Mr. Matloff’s personal guarantee
                     Matloff
   May 5, 2018       OS 544 – TGL v.      Suit to enforce Share Charge Deed for 43% of
                     Gandiva              Rooftop
   Dec. 5, 2018      S 450               • Judgment for TGL (v. Matloff) – $4.4MM + 5% per
                                          month interest until settlement of principal.
                                         • Application to Domesticate filed in SD TX (now
                                          stayed)
   Mar. 6, 2019      S 252 – TGL v.       TGL’s suit to enforce corporate cross guarantees
                     Rooftop Group
                     International,
                     Asian Express,
                     and Gandiva
   April 1, 2019     S 450/ SUM           TGL files Application for leave to commence
                     1653                 committal proceedings
   April 16, 2019    S 450/ SUM           Court enters its Order granting leave to TGL to
                     1653                 commence committal proceedings

   April 29, 2019    S 450/ SUM           Summons is issued to Mr. Matloff in conjunction
                     1653                 with TGL’s committal proceedings


   April 30, 2019    19-31443             In re Rooftop Group International Pte. Ltd. filed
   June 18, 2019     OS 773               Rooftop’s Action to Stay S 252, OS 544

                     S 252                Judgment for TGL (v. Rooftop Group International) -
                                          $6.4MM
   June 19, 2019     19-32039             In re Darren Scott Matloff filed

   June 26, 2019     OS 773               Singapore court adopts briefing schedule on
                                          application for stay in Rooftop proceedings.
   July 8, 2019      S 450/SUM 2362       Mr. Matloff files his Affidavit in response to the
                                          committal proceedings.
   July 9, 2019      19-32039             Notice of Appearance filed on behalf of TGL
   July 16, 2019     19-32039             First Meeting of Creditors
   July 22, 2019     S 450/SUM 2362       TGL files its Affidavit
   July 24, 2019     19-32039             Motion to Appear Pro Hac Vice by Richard
                                          Mooney filed by TGL.
   July 25, 2019     S 450/SUM 2362       TGL files Applicant’s Written Submissions,
                                          requesting Mr. Matloff be incarcerated

                                          Exhibit

Timeline of Events                                                                                  1
                                            A
   Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19   Entered 09/11/19 12:19:37        Page 2 of 33



   July 26, 2019     S 450/SUM 2362    The Singapore Court conducts a hearing on TGL’s
                                       Application
   August 13, 2019   19-32039          Continued Meeting of Creditors

                     S 450/SUM 2362    Singapore Court sets this date as a deadline for
                                       additional affidavits from TGL and Mr. Matloff




Timeline of Events                                                                              2
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19                       Entered 09/11/19 12:19:37            Page 3 of 33




                        IN THE HIGH COURT OF THE REPUBLIC OF SINGAPORE

Case No.: HC/S 450/2018
Sub Case No.: HC/SUM 2362/2019
                                                                             Between
Filed: 29­April­2019 05:58 PM
                                                  TRIUMPHANT GOLD LIMITED
Hearing Date : 23­May­2019                        (Cayman Islands Registration No. OI­293504)
Hearing Time : 2:30 PM
Hearing Type : OS & Summons (Open
Court)                                                                                                 ...Plaintiff(s)
Attend Before: Judge                                                           And
                                                  DARREN SCOTT MATLOFF
                                                  (United States Passport No. 530504825)


                                                                                                    ...Defendant(s)




                                  SUMMONS FOR ORDER OF COMMITTAL



To: Defendant
       Darren Scott Matloff
       75 Vine Street, Unit 805
       Seattle, WA 98121


Let all parties concerned attend before the Court on the date and time to be assigned for a hearing of an
application by the Plaintiff for the following order(s):

  1.     That such punishment as the Court deems fit be imposed on the Defendant, Darren Scott Matloff ("Mr
         Matloff"), for his contempt of court in connection with his intentional disobedience and/or breach of the
         following Orders of Court:
          a.   HC/ORC 77/2019, read with the Court’s Reply on Request for Re­fixing/Vacation of Hearing
               Dates dated 17 January 2019, requiring Mr Matloff to: (i) attend before the Registrar on 1
               February 2019 at 9am and be orally examined as to whether he has any property or means of
               satisfying the Judgment obtained against him on 5 December 2018, and that he do produce any
               books or documents in his possession or power relating to the same at the time and place appointed
               for examination (the “EJD Hearing”); and (ii) serve on the Applicant an affidavit providing all
               answers and documents sought by the Applicant in the Questionnaire for the Examination of
               Darren Scott Matloff (the “Affidavit of Answers”);
          b.   HC/ORC 77/2019, read with Registrar’s Notice dated 1 February 2019, requiring Mr Matloff to: (i)
               attend before the Registrar for an EJD Hearing on 8 February 2019 at 9am; and (ii) serve the
               Affidavit of Answers on the Applicant; and
          c.   HC/ORC 908/2019, requiring Mr Matloff to: (i) attend before the Registrar for an EJD Hearing on
               8 March 2019 at 9am; and (ii) serve the Affidavit of Answers on the Applicant by 11 February
               2019, 5pm.
  2.
         Costs of and incidental to this application be paid by the Defendant to the Plaintiff.
The grounds of the application are:                      Exhibit

    1.     Set out in the Statement pursuant to O 52 r 2(2) of the Rules of Court filed on the 1st day of April
                                                           B together with the 1st affidavit of Hiroyuki
           2019, which is to be read in support of this summons
           Mukaibo and the exhibits therein, filed on the 1st day of April 2019.
          c.
         HC/ORC 908/2019, requiring Mr Matloff to: (i) attend before the Registrar for an EJD Hearing on
         8 March 2019 at 9am; and (ii) serve the Affidavit of Answers on the Applicant by 11 February
Case 19-32039-sgj7
         2019, 5pm. Doc 41-1 Filed 09/11/19 Entered 09/11/19 12:19:37 Page 4 of 33
   2.
         Costs of and incidental to this application be paid by the Defendant to the Plaintiff.
The grounds of the application are:

    1.     Set out in the Statement pursuant to O 52 r 2(2) of the Rules of Court filed on the 1st day of April
           2019, which is to be read in support of this summons together with the 1st affidavit of Hiroyuki
           Mukaibo and the exhibits therein, filed on the 1st day of April 2019.




Issued by :

Solicitor(s) for the Plaintiff(s)

Providence Law Asia LLC
20 COLLYER QUAY #21­02
Singapore 049319
Tel No.: 64381969
Fax No.: 64382683
Email: info@providencelawasia.com
File Ref No.: AV/NK/KL/17329
Solicitor in charge: 1. LAU HUI MING, KENNY,
2. MOHAMED NAWAZ KAMIL




                                                                                  HC/S450/2018:HC/SUM2362/2019:HC/S450/2018:HC/SUM2362/2019:HC/S450/2018:HC/SUM236



                                                                                  TEH HWEE HWEE
                                                                                  REGISTRAR
                                                                                  SUPREME COURT
                                                                                  SINGAPORE
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19   Entered 09/11/19 12:19:37   Page 5 of 33
                                                                                   1
                    DARREN SCOTT MATLOFF - July 16, 2019

· · · · · · · · · IN THE UNITED STATES BANKRUPTCY COURT
· · · · · · · · ·· FOR THE NORTHERN DISTRICT OF TEXAS
· · · · · · · · · · · · · ·· DALLAS DIVISION
· · · · · · · · · · · · ·· CASE NO.: 19-32039
· ·
· ·
· ·IN RE:
· ·DARREN SCOTT MATLOFF,· · · · · · · · · · · · ··CHAPTER 7
· · · · Debtor.
· ·_______________________________________/
· ·
· · · ·· Proceedings had and taken place before Scott M. Siedel on
· ·
· ·Tuesday, the 16th day of July 2019, commencing at the hour of
· ·
· ·9:50 a.m., and being a Meeting of Creditors.
· ·
· ·
· ·
· ·
· ·
· ·
· ·
· ·
· ·
· ·
· ·
· ·
· ·
                                     Exhibit
                          ON-THE-RECORD REPORTING
                                 (214) C
                                       954-0352
                                                                         TGL_000095
  Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19   Entered 09/11/19 12:19:37   Page 6 of 33
                                                                                     2
                      DARREN SCOTT MATLOFF - July 16, 2019

·1··
 · · · · · · ·On Behalf of the Debtor:
·2·· · · · · ·SARAH COX
·3·· · · · · ·On Behalf of US Trustees:
 · · · · · · ·SCOTT M. SIEDEL
·4··
 · · · · · · ·On Behalf of Triumphant Gold Limited:
·5·· · · · · ·KATHARINE BATTAIA CLARK
·6··
 · · · · · · ·Also Present:
·7··
 · · · · · · ·DARREN SCOTT MATLOFF, Debtor
·8··
·9··
10··
11··
12··
13··
14··
15··
16··
17··
18··
19··
20··
21··
22··
23··
24··
25··

                            ON-THE-RECORD REPORTING
                                   (214) 954-0352
                                                                           TGL_000096
  Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19   Entered 09/11/19 12:19:37   Page 7 of 33
                                                                                     3
                      DARREN SCOTT MATLOFF - July 16, 2019

·1··
 · · · · · · · · · · · · · · · · · · · · · · · · · ·PAGE
·1·· · ·TESTIMONY OF DARREN SCOTT MATLOFF
·2··
 · · ··Direct Examination by Ms. Cox· · · · · · · ·4
·3·· ··Direct Examination by Ms. Clark· · · · · ··14
 · · ··Direct Examination by Mr. Siedel· · · · · ·38
·4··
·5·· ··Certificate of Transcriber· · · · · · · · ·44
·6··
·7··
·8··
·9··
10··
11··
12··
13··
14··
15··
16··
17··
18··
19··
20··
21··
22··
23··
24··
25··

                            ON-THE-RECORD REPORTING
                                   (214) 954-0352
                                                                           TGL_000097
  Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19   Entered 09/11/19 12:19:37   Page 8 of 33
                                                                                   14
                      DARREN SCOTT MATLOFF - July 16, 2019

·1·· · ··A.· ·We have an accountant in California, we've

·2··been using for years.··His name is Andy Dickson.··It

·3··started out as a California company before we moved to

·4··Texas.

·5·· · ··Q.· ·And we can put him in contact with the Trustee,

·6··if necessary?

·7·· · ··A.· ·Yes, of course.

·8·· · ··Q.· ·I will pass the witness.

·9·· · · · · ·MR. SIEDEL:··Let me open it up to you, if you

10·· · ··have some questions.

11·· · · · · ·MS. CLARK:··Yes.

12·· · · · · · · · · · · · ·DIRECT EXAMINATION

13··BY MS. CLARK:

14·· · ··Q.· ·I'm Katharine Battaia Clark.··I'm here

15··representing Triumphant Gold Limited, which you've

16··listed as a creditor in your bankruptcy schedules; is

17··that correct?

18·· · ··A.· ·That's correct.

19·· · ··Q.· ·I just have a few questions about your

20··schedules that you filed.··What is Eastern Design Group

21··USA?

22·· · ··A.· ·Many, many years ago, I formed a company to do

23··packaging design.··It's pretty much -- it isn't solvent,

24··though.

25·· · · · · ·MR. SIEDEL:··You got to speak up.

                            ON-THE-RECORD REPORTING
                                   (214) 954-0352
                                                                           TGL_000108
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19      Entered 09/11/19 12:19:37          Page 9 of 33




                 IN THE HIGH COURT OF THE REPUBLIC OF SINGAPORE

        HC/S 450/2018
        HC/SUM 2362/2019

                             In the matter of Section 4 of the Administration of
                                       Justice (Protection) Act 2016

                                                    And

                     In the matter of Order 52 rule 2 of the Rules of Court (Cap 322, R
                                                5, 2014 Rev Ed)


                                     TRIUMPHANT GOLD LIMITED
                                     (Cayman Company Registration No. OI-293504)

                                                                             …Applicant

                                                        And

                                       DARREN SCOTT MATLOFF
                                       (US Passport No. 530504825)
                                                                         … Respondent



                        APPLICANT’S WRITTEN SUBMISSIONS

           SOLICITORS FOR THE                  SOLICITORS FOR THE RESPONDENT
               APPLICANT                               Choo Zheng Xi
               Nawaz Kamil                              Ng Bin Hong
                Kenny Lau

          Providence Law Asia LLC                 Peter Low & Choo LLC
           20 Collyer Quay, #21-02          1 Coleman Street, #10-03, The Adelphi
              Singapore 049319                      Singapore 179803
               Tel: 6438 1969                         Tel: 6410 1007
               Fax: 6438 2683                         Fax: 6534 0877
              Ref: NK/KL/17329                             Ref: -


                              Dated this 25th day of July 2019




                                        Exhibit

                                           D
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19            Entered 09/11/19 12:19:37       Page 10 of 33
                                                     2


           I.         INTRODUCTION



      1.        These written submissions are filed by the Applicant, Triumphant Gold Limited

                (“TGL”), in support of HC/SUM 2362/2019 (“SUM 2362”).1 SUM 2362 is an

                application to commit Mr Darren Scott Matloff (“Mr Matloff”)), the judgment

                debtor in HC/S 450/2018 (“S 450”) and the respondent in HC/SUM 6050/2018

                (the “EJD Proceedings”), for his intentional disobedience and/or breach of the

                following Orders of Court made in the EJD Proceedings (the “EJD Orders”):



                (a)     HC/ORC 77/2019, read with the Court’s Reply on Request for Re-

                        fixing/Vacation of Hearing Dates dated 17 January 2019 (the “Court’s

                        Reply”), requiring Mr Matloff to: (i) attend before the Registrar on 1

                        February 2019 at 9am and be orally examined as to whether he has

                        any property or means of satisfying the Judgment obtained against him

                        on 5 December 2018, and that he do produce any books or documents

                        in his possession or power relating to the same at the time and place

                        appointed for examination (the “EJD Hearing”); and (ii) serve on the

                        Applicant an affidavit providing all answers and documents sought by

                        the Applicant (the “Affidavit of Answers”) in the Questionnaire for the

                        Examination of Darren Scott Matloff (the “Questionnaire”)



                (b)     HC/ORC 77/2019, read with Registrar’s Notice dated 1 February 2019,

                        requiring Mr Matloff to: (i) attend before the Registrar for an EJD


           1    Applicant’s Bundle of Documents (“BOD”) Tab 1.
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19              Entered 09/11/19 12:19:37        Page 11 of 33
                                                      3


                       Hearing on 8 February 2019 at 9am; and (ii) serve the Affidavit of

                       Answers on the Applicant.



               (c)     HC/ORC 908/2019 requiring Mr Matloff to: (i) attend before the

                       Registrar for an EJD Hearing on 8 March 2019 at 9am; and (ii) serve

                       the Affidavit of Answers on the Applicant by 11 February 2019, 5pm.



      2.       The aforesaid intentional disobedience / breaches of the aforesaid Court

               orders constitute offences under s 4(1)(a) of the Administration of Justice

               (Protection) Act 2016 (“AJPA”).2 Pursuant to s 12(1)(a) of the AJPA, the

               commission of such offences attracts a punishment of a fine not exceeding

               S$100,000, or imprisonment for a term not exceeding 3 years, or with both.



      3.       Based on the circumstances in which the EJD Orders had been breached in

               the present case, as will be detailed below, TGL respectfully asks that Mr

               Matloff be imposed a custodial sentence. Such a punishment is supported by

               case precedent, and is consistent with the need to achieve a deterrent effect

               and to ensure compliance with the EJD Orders in the present circumstances.



      4.       For ease of reference, and unless otherwise stated, TGL will adopt the same

               definitions as in the 1st affidavit of Hiroyuki Mukaibo dated 1 April 2019 filed in

               support of the present proceedings (“Hiro’s 1st Affidavit”).3




           2   Applicant’s Bundle of Authorities (“BOA”) Tab 1.
           3   BOD Tab 2.
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19                 Entered 09/11/19 12:19:37      Page 12 of 33
                                                         10




      26.         Accordingly, Mr Matloff is guilty of contempt of court for failure to comply with

                  the EJD Orders.



            IV.       A CUSTODIAL SENTENCE SHOULD BE IMPOSED AS AGAINST MR

                      MATLOFF FOR HIS CONTEMPT OF COURT



      27.         In an attempt to mitigate his offences, as noted above, Mr Matloff claims that

                  he failed to file his Affidavit of Answers and failed to attend the EJD Hearings

                  on three occasions, because he was disorganised and had a punishing

                  schedule due to his business and having to deal with various legal actions. 21



      28.         It is submitted that Mr Matloff’s excuses do not stand up to scrutiny and are not

                  mitigating factors. If anything, they evidence his lack of regard to the EJD

                  Orders made against him.



      29.         From the period of 24 January 2019 to date (i.e., the period of time in which Mr

                  Matloff has failed to comply with the EJD Orders), Mr Matloff has engaged

                  counsel (either on his behalf or on behalf of Rooftop, which he is the founder

                  and CEO of) to represent him / Rooftop in the below proceedings and have

                  also filed substantive affidavits in his name in respect of these proceedings: 22




            21    Darren’s 1st Affidavit at paragraph 6: BOD Tab 4.
            22    Hiro’s 2nd Affidavit at paragraph 31: BOD Tab 5.
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19       Entered 09/11/19 12:19:37        Page 13 of 33
                                               11


            (a)   Participating in the SIAC Proceedings and giving evidence for the

                  hearing which was held from 21 March – 23 March 2019.



            (b)   Instructing Rooftop’s counsel to apply for further and better particulars

                  in S 252 (vide HC/SUM 2016/2019) on 17 April 2019, and to attend a

                  hearing for the same on 10 May 2019.



            (c)   Instructing Rooftop’s counsel to apply for the Chapter 11 Proceedings

                  on 30 April 2019.



            (d)   Filing a reply affidavit to the summary judgment application against

                  Rooftop in S 252 on 29 May 2019.



            (e)   Instructing Rooftop’s counsel to file for a recognition of the Chapter 11

                  Proceedings in OS 773 and filing a substantive supporting affidavit

                  spanning 1124 pages (with exhibits) under solicitor’s cover on 18 June

                  2019.



            (f)   Filing a petition for personal bankruptcy pursuant to Chapter 7 of the

                  United States Bankruptcy Code on 19 June 2019.



            (g)   Filing a reply affidavit to the summary judgment application against the

                  other defendants (apart from Rooftop) in S 252 on 3 July 2019 (under

                  solicitor’s cover).
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19        Entered 09/11/19 12:19:37         Page 14 of 33
                                                12




            (h)    Filing Darren’s 1st Affidavit (under solicitor’s cover) on 8 July 2019,

                   spanning a total of 276 pages (with exhibits).



      30.   The aforesaid actions taken by Mr Matloff during this period of time evidences

            that Mr Matloff clearly had access to counsel and could have, at any point in

            time, engaged counsel to respond to the EJD Orders. Mr Matloff also has not

            adequately explained why filing his Affidavit of Answers or attending the EJD

            Hearings would not have been possible for him.



      31.   It is submitted that he could have done so, but simply chose not to. It is not an

            excuse to say that Mr Matloff chose to prioritise other legal proceedings and/or

            his business over having to comply with the EJD Orders; indeed, this shows

            that Mr Matloff made a calculated and considered decision to ignore the EJD

            Orders and chose only to surface in the proceedings at this stage where he is

            about to be found guilty of contempt of court. These are not mitigating

            circumstances. To the contrary, they reinforce his lack of regard of the EJD

            Orders.



      32.   This is made all the more evident by the fact that Mr Matloff has now recently

            filed a petition for bankruptcy in the US courts where he claims that he only

            has assets of approximately US$16,000. If this were really the case, it makes

            it all the more egregious that Mr Matloff had failed to file his Affidavit of

            Answers, even to date.
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19               Entered 09/11/19 12:19:37         Page 15 of 33
                                                       19


                        counsel, evinced no remorse and in fact denied having been in

                        contempt of court. There was therefore little by way of mitigation.


                        58      All in all, I was satisfied that a custodial sentence would be the

                        only effective means to ensure Kurniawan’s compliance with the EJD

                        Order since he had shown himself to be a recalcitrant party in

                        continually breaching a mandatory court order.”


                        [emphasis added]



      45.        The aggravating factors / lack of mitigating factors taken into account by Lai J

                 are all present in this case. Further, as noted above, there is the additional fact

                 here of Mr Matloff utilising the delay to engineer a situation where he has now

                 filed for bankruptcy and claims to only have up to US$16,000 in assets

                 remaining.



      46.        In the circumstances, TGL therefore submits that a custodial sentence must

                 be imposed in the present case and a sentence of more than seven days

                 imprisonment is warranted given the exceptionally aggravating circumstances.



            V.      CONCLUSION



      47.        TGL asks that a commensurate custodial sentence be imposed to reflect the

                 complete lack of regard which Mr Matloff has shown to the EJD Orders. For a

                 recalcitrant judgment debtor such as Mr Matloff, a serious deterrent message
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19        Entered 09/11/19 12:19:37       Page 16 of 33
                                                20


            must be sent and this is also the only effective means to ensure his compliance

            with the EJD Orders moving forward.



                                 Dated this 25th day of July 2019




                                               __________________________________
                                                   SOLICITORS FOR THE APPLICANT
                                                MESSRS PROVIDENCE LAW ASIA LLC
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19             Entered 09/11/19 12:19:37          Page 17 of 33


               IN THE HIGH COURT OF THE REPUBLIC OF SINGAPORE


         HC/S 450 of2018
   2     (HC/SUM 2362 of2019)
   3
   4                                              Between
   5

   6                                      TRIUMPHANT GOLD LIMITED
   7                                                                               ... Plaintiff
   8                                                 And
   9

  10                                      DARREN SCOTT MATLOFF
  11                                                                             ... Defendant
  12
  13     Coram : Judicial Commissioner Pang Khang Chau
  14

  15     Lau Hui Ming Kenny (Providence Law Asia LLC) for the plaintiff;
  16     Choo Zheng Xi and Ng Bin Hong (Peter Low & Choo LLC) for the defendant.
  17

  18                                        Notes of Argument
  19

  20     26 July 2019
  21

  22     PC             Application to find the Defendant liable for contempt of court.
  23

  24     Ct             There is a new affidavit that came in today.
  25

  26     DC             That is my client's affidavit of assets pursuant to the Examination
  27                    of Judgment Debtor ("EJD") proceedings.
  28

  29                    I will go into this in more detail for the purpose of mitigation.
  30
  31                    My client came into Singapore from Los Angeles yesterday
  32                    morning. So I could only get him to sign off the affidavit yesterday
  33                    and I filed it at the earliest instance.
                                                                       Exhibit

                                                                         E
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19           Entered 09/11/19 12:19:37         Page 18 of 33


    HC/S 450 of2018                                  2                               26 July 2019
    (HC/SUM 2362 of 2019)




    2                   My firm has been instructed only on 10 June 2019.
    3

    4                   To save time, I do not think we dispute the liability. So it is
    5                   undisputed fact that he failed to attend the EJD hearings.
    6

    7      PC           Background facts set out in [8]-[17] ofmy written submission.
    8

    9                   Mens rea is intentional conduct.
   10

   11                   It is clear that the conduct was intentional. The motive being
   12                   irrelevant to the question ofliability.
   13

   14      DC           Regarding the first charge concerning the hearing on 1 February,
   15                   my client's position is that he did not see the e-mail until 7
   16                   February 2019. Plaintiff's response is that it is not likely. I will
   17                   submit later on how the court should weigh the evidence in
   18                   relation to charge 1.
   19

   20      PC           I think it is undisputed that, as of24 January, the order was served
   21                   on Defendant. What Defendant is saying is that, due to the volume
   22                   of e-mails he received, he only found out on 7 February.
   23

   24                   Service on 24 January was not only by e-mail but also on his
   25                   solicitor.
   26

   27                   In PT Sandipala [47] - element of knowledge includes knowledge
   28                   of the order and its material terms. To this end, it is not necessary
   29                   for the complainant to show that the alleged contemnor
   30                   appreciated that he was breaching the order. Liability is strict in
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19          Entered 09/11/19 12:19:37           Page 19 of 33

   HC/S 450 of20l8                                  3                                 26 July 2019
   (HC/SUM 2362 of2019)




                      the sense that all that is required to be proved is service of the order
    2                 and the subsequent omission by the party to comply.
    3

    4                 Otherwise, it would be too easy to evade, especially in the case of
    5                 substituted service.
    6

    7    Ct           There are 4 cases cited there. Do you know the facts of those
    8                 cases?
    9

   10    PC           I only have Pertamina.
   ll

   12    Ct           Do the facts of PT Sandipala concern a claim oflack of knowledge
   13                 of the order?
   14
   15    PC           No.
   16
   17    Ct           What about Pertamina?
   18
   19    PC           No.
  20
  21                  The proposition we are advancing is that where service has been
  22                  validly effected, it will be too easy for the defendant to say I
  23                  somehow did not see this, especially when more than one means
  24                  of substituted service was adopted.
  25
  26     Ct           There is a difference between saying that I should deem that there
  27                  was knowledge just because substituted service had been effected
  28                  and saying that I should disbelief the lack of knowledge because
  29                  of circumstantial but nevertheless I should be persuaded that there
  30                  was actual knowledge.
  31
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19              Entered 09/11/19 12:19:37         Page 20 of 33


    HC/S 450 of2018                                     4                                26 July 2019
    (HC/SUM 2362 of2019)




           PC              We are proposing it on both fronts.
    2

    3      DC              It is open to Plaintiff to apply for cross-examination.
    4

    5      Ct              Given dispute on liability for the first charge, is it meaningful to
    6                      proceed with sentencing submission?
    7

    8      PC              Our position on sentencing would remain even without the first
    9                      charge.
   10

   II      DC              Happy to proceed with submission on sentencing.
   12

   13      PC              Also point out [! OJof my client's first affidavit. To accept
   14                      Defendant's explanation is to also accept that his lawyers did not
   15                      bring the order to his attention.
   16

   17      DC              At that time, Rev Law was representing the company in the
   18                      arbitration, not representing Defendant in these proeedings.
   19

  20       Ct              Was Defendant the sole director of Rooftop?
  21

  22       PC              I think there was one other director who was the in-house counsel.
  23

  24                       But in the arbitration, Defendant was the representative, the only
  25                       witness and, as far as we know, the only instructing party.
  26

  27                       Moving on to sentencing. We are asking for custodial sentence of
  28                       at least 7 days.
  29

   30                      PT Sandipala [69] -list of factors to be taken into account.
   31
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19             Entered 09/11/19 12:19:37          Page 21 of 33

   HC/S 450of2018                                      5                                26 July 2019
   (HC/SUM 2362 of2019)




                          Coercive considerations must come into play as there was
   2                      continuous refusal to comply.
   3

   4                      [29] of written submission- sequence of events illustrated that he
   5                      has the ability to engage counsel to respond but chose not to do so.
   6
   7                      Even if we take his case at face value, that he learned of the order
   8                      only on 7 February, he has failed to respond to the many
   9                      reminders. Absolute radio silence.
  10

  11                      Even if we accept that he was disorganized and had other pressing
  12                      matters, this is not a mitigating factor. He chose to prioritise other
  13                      matters over the need to comply with a court order.
  14

  15                      See Global Distressed Alpha Fund [41].
  16

  17      Ct              What is the context of [41]? Was Lai J discussing liability or
  18                      sentence at that point?
  19

  20      PC              I believe she was addressing the issue of liability at [41]. But I
  21                      believe this factored into her decision on sentence. See [55] - lack
  22                      of justifiable excuse, no regard for EJD order, thumbing his nose
  23                      at the Singapore court were factors taken into account in
  24                      sentencing.
  25

  26                      He has recently, on 19 June, filed a petition for bankruptcy in the
  27                      USA. On 11 July 2019, he filed his statement of assets and liability
  28                      in the US bankruptcy. Stated that his assets were USD 16,000
  29                      while liability was over USD 65 million.
  30
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19             Entered 09/11/19 12:19:37        Page 22 of 33


   HC/S 450 of2018                                     6                               26 July 2019
   (HC/SUM 2362 of2019)




                          One of two scenarios must be true. One, he already had very little
    2                     assets in January. In which case, why could he not file his list of
    3                     assets which would have been bare. Second, he has deliberately
    4                     delayed giving details of his assets until his US bankruptcy, at
    5                     which point he has only $16,000 of asssets under his name.
    6

    7                     Tahir v Tay Kar Oon (HC) - [53] - delay in complying with EJD
    8                     order till after she was bankrupt caused irreversible prejudice.
    9

   10                     In the present case, the delay was not one month but 6 months.
   11

   12                     Tahir (CA) reduced the sentence of 8 weeks to a fine of $10,000.
   13                     Reason was that the applicant in that case withdrew the committal
   14                     proceedings before hearing. Court of Appeal at [59] took the view
   15                     that there was very little prejudice because bankruptcy set in very
   16                     soon after the EJD order was granted.
   17

   18                     Court of Appeal also took into account the defendant's medical
   19                     condition - major depressive disorder.
  20

   21                     One other point which highlights the complete lack of regard
   22                     which Defendant had for the Singapore proceedings. This stems
   23                     from correspondence which we received from my learned friend
   24                     yesterday evening.
   25

   26                     In that correspondence, my learned friend referred to deposition
   27                     which took place in the US bankruptcy proceedings, where many
   28                     questions posed were similar to those posed in the EJD
   29                     questionnaire. Then an allegation was made of material non-
   30                     disclosure on the part of the Plaintiff.
   31
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19           Entered 09/11/19 12:19:37      Page 23 of 33

   HC/S 450 of2018                                  7                              26 July 2019
   (HC/SUM 2362 of 2019)




                       The fact that Defendant attended a deposition in US last week had
   2                   nothing to do with whether he had committed contempt of court.
   3                   It appears from Defendant's own conduct that he did not believe
   4                   the deposition to be relevant. Before Defendant filed his reply
   5                   affidavit, he already knew of the deposition date. If this were
   6                   material, Defendant ought to have mentioned it in his affidavit.
   7

   8      DC           The deposition took place after Defendant filed his affidavit and
   9                   before Plaintiff filed his affidavit in response.
   10
   11     Ct           I think Plaintiffs Counsel's point is that Defendant knew of the
   12                  deposition date before filing his affidavit. So if it was material,
   13                  Defendant should have mentioned it first.
   14
   15     DC           The point we make is that Defefendant had been forthcoming with
  16                   his answers about his assets wherever they may be situated. So the
   17                  Plaintiffs case theory that Defendant was somehow hiding or
   18                  concealing his personal information is not correct, as evidenced
  19                   by the Defendant's deposition in the US proceedings.
  20
  21      PC           Our case theory is that the Defendant hid his assets until the time
  22                   he filed for bankruptcy in June 2019.
  23
  24                   This demonstrates that he was clearly capable of disclosing his
  25                   assets. Why didn't he do this in the Singapore court? Clearly, he
  26                   was thumbing his nose at the Singapore court.
  27
  28                   See [35] of written submission - dilatory tactics in arbitration,
  29                   misrepresenting assets situation to arbitration.
  30
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19                 Entered 09/11/19 12:19:37    Page 24 of 33


    HC/S 450 of2018                                        8                           26 July 2019
    (HC/SUM 2362 of2019)




                           (1) The Plaintiff had in fact been significantly and irreparably
    2                      prejudiced.
    3

    4                      (2) he only attempted to remedy his breach today by filing his EID
    5                      affidavit which we have not had the opportunity to review. But our
    6                      point is that this in fact carmot be remedied because he has placed
    7                      himself in bankruptcy.
    8

    9                      (3) the breaches were deliberate and he knew of the seriousness of
   10                      the breaches as he is a seasoned businessman familiar with court
   11                      processes.
   12

   13                      (4) High culpability.
   14

   15                      (5) failure to cooperate with plaintiff in any way.
   16

   17                      The contempt cannot be purged because of his conduct. He has
   18                      placed himself in bankruptcy.
   19

   20                      Submit that appropriate sentence should be more than 7 days'
   21                      imprisonment.
   22

   23      DC              I wish to take Your Honour through the cases to highlight salient
   24                      similarities and differences.
   25

   26                      My client had given significant details in his affidavit concerning
   27                      his business. This was a US-based business, which owns
   28                      significant Intellectual Property in the US.
   29
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19          Entered 09/11/19 12:19:37       Page 25 of 33


   HC/S 450 of2018                                 9                              26 July 2019
   (HC/SUM 2362 of2019)




                      My client has come all the way from Texas to place himself at the
   2                  mercy of the court. Most ofmy client's company's assets and his
   3                  own assets are in the US.
   4

   5                  Plaintiffs last affidavit at page 331 - declaration of intangible
   6                  assets (Intellectual Property).
   7

   8                  In the EJD affidavit filed today, my client has disclosed his bank
   9                  statements since January 2019. He has also disclosed details of the
  10                  MatloffFamily Trust.
  11
  12                  This is in contrast with PT Sandipala where the affidavits were
  13                  bare denials with no assets declared.
  14
  15                  Move of the company to Singapore only took place in March
  16                  2015.
  17

  18                  My client is absolutely remorseful for not filing disclosure of his
  19                  assets earlier.
  20
  21                  This disclosure has to be seen in the context of him providing as
  22                  much information as possible to the Plaintiff.
  23
  24                  Context of the arbitration. In February 2019, my client was also
  25                  trying to get his business in order at the time of the arbitration.
  26                  Centre ofhis business was always in the US.
  27

  28                  He was faced not only with business collapse in the US. He was
  29                  also faced with personal proceedings in Singapore. At that
  30                  junction, on 7 February 2019, my client hit a spot of turbulence
  31                  with his lawyers in the arbitration proceedings. My client'
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19         Entered 09/11/19 12:19:37        Page 26 of 33


    HC/S 450 of2018                                10                              26 July 2019
    (HC/SUM 2362 of2019)




                       company was unrepresented from 6 February 2019 onwards. His
    2                  next set oflawyers came on board only 10 March 2019.
    3

    4                  Comment in Global Distressed was the vagueness of excuse and
    5                  total lack of supporting evidence.
    6

    7                  Hearings missed in Global Distressed were 9 EJD hearings over a
    8                  period of 8 months. Very clear lack of remorse and lack of
    9                  intention to mitigate breaches there.
   10
   11                  In the present case the period between the first and second charges
   12                  were 7 days.
   13
   14                  In the Global Distressed case, the EJD hearings were on
   15
   16                  3 July 2012
   17                  14 August
   18                  4 September
   19                  6November
   20                  6 December
   21
   22                  8 January 2013
   23                  22 January
   24                  19 February
   25                  20 March
   26
   27                  We are asking that the Court impose a fine on our client, anywhere
   28                  between $5,000 and $10,000.
   29
   30                  On prejudice, see [59] of Tahir (CA).
   31
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19             Entered 09/11/19 12:19:37       Page 27 of 33

   HC/S 450 of2018                                     11                             26 July 2019
   (HC/SUM 2362 of2019)




                          The debt which Defendant owed was for a personal guarantee
   2                      given for the liabilities of Rooftop. Judgment against him was in
   3                      excess ofUSD 4 million.
   4

   5                      My client has placed his bank account before this court. He has
   6                      also gone on record in the US. Nothing to suggest that my client
   7                      has any amount near the judgment debt, much less dissipating
   8                      assets.
   9

   10                     Allegation of dissipation was not made in the Statement for
   11                     liability, and so should not be taken into account in sentencing.
   12                     Breach of natural justice.
   13

   14     PC              Unique situation of this case is the substantial delay of 6 months
   15                     and then he declared himself a bankrupt.
   16

   17                     My learned friend said his client has been very upfront since then.
   18                     But that is the point. He has been upfront only after he decided to
   19                     file for bankruptcy. That is not remorse. He has more than 6
  20                      months. Why do it only today.
  21

  22                      The egregious pattern of Defendant's conduct is set out clearly in
  23                      the SlAC award, which led to indemnity costs awarded against
  24                      him.
  25

  26                      See page 11 of his declaration. Rented property since 1 July 2019.
  27                      What about before I July 2019?
  28

  29                      Therefore custodial sentence is warranted.
  30
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19          Entered 09/11/19 12:19:37          Page 28 of 33


    HC/S 450 of2018                                 12                               26 July 2019
    (HC/SUM 2362 of2019)




           Ct          Is the O 52 statement merely required to state facts relevant to
    2                  liability?
    3

    4     DC           To the extent that these are facts which my client may be subject
    5                  to penal consequences for, it should not merely be in the O 52
    6                  statement, but should be in the affidavit in support.
    7

    8                  So if there is an accusation of dissipation, then as a matter of
    9                  natural justice my client should have an opportunity to rebut that.
   10                  The allegations of dissipation is not something which my client
   II                  had the opportunity to respond.
   12
   13     Ct           Adjourned for further submission and further affidavits to be
   14                  filed.
   15
   16                  I will need further submission on the point made at the beginning
   17                  of today's hearing as to whether prove of substituted service of the
   18                  court order is sufficient for liability or whether the court needs to
   19                  be satisfied that the Defendant had actual knowledge of the court
   20                  order.
   21
   22                  Defendant to to file an affidavit to address the Plaintiffs allegation
   23                  that the Defendant had delayed compliance with the EJD order in
   24                  order to dissipate assets and declare himself bankrupt in the US.
   25
   26                  Plaintiff to file an affidavit to comment on the quality of the
   27                  disclosures in the EJD affidavit filed by the Defendant today, as
   28                  well as on whether the disclosures EJD affidavit would have
   29                  mitigating or aggravating effect.
   30
   31                  All these to be done by 13 August 2019.
    Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19             Entered 09/11/19 12:19:37            Page 29 of 33
,
       HC/S 450of2018                                      13                                 26 July20 l9
       (HC/SUM 2362 of20l9)




        2                     Next hearing to be fixed by the Registry on the earliest possible
        3                     date after 13 August 2019 on w hich all parties are available.
        4

        5     DC              Will Your Honour be pronouncing sen tence at the next hearing? It
        6                     involves significan t trouble and expense for my client to trav el
        7                     from Texas to Singapore. So if Your Honour is not planning to
        8                     pronounce sentence at the next hearing but would need further
        9                     time to cons ider, I wou ld like to seek leave for my client's
       10                     presence at the next hearin g to be dispensed with.
       11

       12     Ct              I wi ll be able to pronounce sentence at the next hearing. So please
       13                     coord inat e with Registry and your client to ensure that your client
       14                     is able to attend the next hearing.
       15

       16

       17

       18                                                                                           [ sgd]
       19                                                  Judicial Comm issio ner Pang Khang Chau

                                                                           Certifi~e     Copy


                                                                    PrivateSecretary
                                                                                   ';¥ icialCommissioner
                                                                           SupremeCourtSingapore
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19           Entered 09/11/19 12:19:37         Page 30 of 33
                                                                                        l)A'l'E:
                                                                                       JY:




                                      CAUSE NO. DC-19-12093

   TRIUMPHANT GOLD LIMITED,                          §         IN THE DISTRICT COURT
                                                     §
          Plaintiff,                                 §
                                                     §
   v.                                                §         1O1st JUDICIAL DISTRICT
                                                     §
                                                     §
   ROOFTOP GROUP SERVICES (US) INC.                  §
   ROOFTOP GROUP USA, INC.,                          §
                                                     §
          Defendants .                               §         DALLAS COUNTY, TEXAS

    SUB.POENA FOR DEPOSITJONDUCES TECUM OF EDWARD L. SCHAFMAN,L.C.

   THE STATE OF TEXAS

          TO:      Edward L. Schafman, L.C.
                   c/o Edward L. Schafman
                   5218 Spruce Street
                   Bellaire, TX 77401

          Pursuant to Rule 176 of the Texas Rules of Civil Procedure, you are hereby commanded

   to designate the proper person( s) who have personal knowledge of the matters set forth in Exhibit

   A, attached hereto, and to appear before a person authorized by law to take depositions for the

   taking of your deposition and to produce documents in the matter styled as Triumphant Gold

   Limited v. Rooftop Group Services (US) Inc., et al, Cause No. DC-19-12093, in the 101st Judicial

   District Court, Dallas County, Texas.

          You shall appear to give your deposition and you shall produce documents listed in

   Exhibit B, attached hereto, at your deposition which shall commence at I 0:00 a.m. on August 27,

   2019, at the office of Compass Reporting, 7020 Portwest Drive, Suite 140, Houston, TX 77024,

   and shall continue from hour to hour and day to day thereafter until completed. This deposition

   will be limited to the issues relating to the upcoming temporary injunction hearing and without



                                              Exhibit

   SUBPOENAFOR DEPOSITIONDUCESTECUMOF EDWARDL. SCHAFMAN,L.C.                          PAGE 1
                                                 F
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19              Entered 09/11/19 12:19:37          Page 31 of 33




   prejudice to reconvene the deposition on the merits after the conclusion of the temporary injunction

   hearing.

          You are being subpoenaed for your deposition and the production of documents at the

   insistence of Plaintiff Triumphant Gold Limited ("Plaintiff'), and its attorneys of record in this

   matter, Jacob B. Kring and Britton D. McClung, Hedrick Kring, PLLC.

              Failure by any person without adequate excuse to obey a subpoena served upon that person

   may be deemed a contempt of the court from which the subpoena is issued or a district court in the

   county in which the subpoena is served, and may be punished by fine or confinement, or both.

              ISSUED in Dallas County, Texas, on this 20th day of August 2019.


                                                          Isl Britton D. McClung
                                                          Jacob B. Kring
                                                          Texas Bar No. 24062831
                                                          Britton D. McClung
                                                          Texas Bar No. 24060248

                                                          HEDRICK KRING, PLLC
                                                          1700 Pacific Avenue, Ste. 4650
                                                          Dallas, Texas 75201
                                                          (214) 880-9600 (telephone)
                                                          (214) 481-1844 (fax)
                                                          jacob@hedrickkring.com
                                                          britt@hedrickkriog.com

                                                          OFFICERS ISSUING SUBPOENA




   SUBPOENAFOR DEPOSITIONDUCESTECUMOF EDWARDL. SCHAFMAN,L.C.                            PAGE 2
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19            Entered 09/11/19 12:19:37          Page 32 of 33




                                                   III.
                                   DOCUMENTS TO BE PRODUCED


          The following documents and tangible items are to be produced in accordance with the

   instructions set out above:

       1. Your file for Rooftop Services.

      2. Your file for Rooftop USA.

      3. Your file for Darren S. Matloff.

      4. All documents provided to you by Rooftop Services or Rooftop USA.

      5. Your engagement letter for Rooftop Services and Rooftop USA.

      6. Documents evidencing any incorrect tax reporting for Rooftop Services or Rooftop USA.

      7. Documents evidencing any effort to con-ect any incorrect tax reporting for Rooftop
         Services or Rooftop USA.

      8. A copy of Rooftop Services' or Rooftop USA's federal, state, and local tax information or
         income tax returns for the past three years.

      9. A copy of Matloffs federal, state, and local tax information or income tax returns for the
         past three years.

      I 0. All documents evidencing the value of any and all claimed assets of Rooftop Services and
           Rooftop USA for the past three years, including accounts receivables, purchase orders, and
           inventory.

      11. All documents evidencing any liabilities of Rooftop Services or Rooftop USA for the past
          three years.

      12. Any income statements for Rooftop Services or Rooftop USA for the past three years.

      13. Any balance sheets for Rooftop Services or Rooftop for the past three years.

      14. AH documents evidencing any effort to segregate commingled personal expenses of
          Matloff from legitimate business expenses of Rooftop Services and Rooftop USA for the
          past three years.

      15.Documents evidencing any personal expenses paid for by Rooftop Services or Rooftop
          USA for Matloff or his family members.




   SUBPOENA FOR DEPOSITION DUCES TECUM OF EDWARD L. SCHAFMAN, L.C.                   PAGE 13
Case 19-32039-sgj7 Doc 41-1 Filed 09/11/19           Entered 09/11/19 12:19:37         Page 33 of 33




      16. All documents evidencing the compensation or distributions paid from Rooftop Services
          or Rooftop USA to Matloff (or any of his family members) for the past three years.

      17. All docwnents evidencing th e distributions paid from Rooftop Services or Rooftop USA
         for the past three years.

      18. All documents evidencing all contributions made by Matloff to Rooftop Services or
          Rooftop USA for the past three years.

      19. All documents evidencing all source s of cash and/or income to Matloff from Rooftop
          Services or Rooftop USA for the past three year s.

      20. All agreements (whether by letter, contr act, invoice tenn s, or otherwise) between Rooftop
         Services, Rooftop USA, Rooftop Singapore, and/or the Rooftop Enterprise , on the one
         hand, and any Person, on the other, that reflect loans made to and/or security interest
         b7fantedby Rooftop Services , Rooftop USA or their affiliates or Insiders for the last three
         year s.




   SUBPOENA FOR DEPOSITION DUCES TECUM OF EDWARD L. SCHAFMAN , L.C.                  PAGE 14
